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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                         UNITED STATES DISTRICT COUR

               UNITED STATES OF AMERICA
                                    V.
                    ASHLEY GALARZA (2)
                                                                      Case Number:         14CR0369-W

                                                                   Inge Brauer
                                                                   Defendant's Attorney
REGISTRA TION NO.                   46307298
o
I2?l   pleaded gUilty to count(s)         ONE OF THE SUPERSEDING INFORMA nON

o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                    Count
Title & Sectioo                          Nature of Offeose                                                         Number(s)
18 USC 1594                              CONSPIRACY TO COMMIT SEX TRAFFICKING OF                                      1
                                         CHILDREN




    The defendant is sentenced as provided in pages 2 through                5            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
IZI Count(s)       Remaining in the underlying Information    is         dismissed on the motion of the United States.

IZI    Assessment: $100.00



IZI No fine                     0 Forfeiture pursuant to order filed                                          , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                    July 28. 2014
                                                                    Date of Imposition of Sen



                                                                    HON. THOM                   ELAN
                                                                    UNITED STI\.            S DISTRICT JUDGE



                                                                                                                     14CR0369-W
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OEFENDANT:                 ASHLEY GALARZA (2)                                                    Judgment - Page 2 of5
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                                                IMPRISONMENT
The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
FORTY-SIX (46) MONTHS




o       Sentence imposed pursuant to Title 8 USC Section 1326(b).
[gJ     The court makes the following recommendations to the Bureau of Prisons:
        That the defendant participate in a 500 hours residential drug/alcohol treatment program (RDAP)
        That the defendant be placed in a facility located in Northeast region, near Maryland to allow for family
        visitations.


o       The defendant is remanded to the custody of the United States MarshaL

o       The defendant shall surrender to the United States Marshal for this district:
        o    ~                             AM.               00

        o    as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
o       Prisons:
        o    on or before
        o    as notified by the United States Marshal.
        o    as notified by the Probation or Pretrial Services Office.

                                                      RETURN

I have executed this judgment as follows:

        Defendant delivered on
                                 ------------------------- to ------------------------------
at
      ----------------------- , with a certified copy of this judgment.

                                                                  UNITED STATES MARSHAL



                                     By                   DEPUTY UNITED STATES MARSHAL



                                                                                                          14CR0369-W
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    DEFENDANT:                      ASHLEY GALARZA (2)                                                                           Judgment - Page 3 of 5
    GASE NUMBER:                    14CR0369-W

                                                           SUPERVISED RELEASE
Upor release from imprisonment, the defendant shall be on supervised release for a term of:
Fiv~ (5) Years
    I




     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 8 drug tests per month during the
term of supervision, unless otherwise ordered by court
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk offuture
          substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

             Ifthis judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
        such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
        of Payments set forth in this judgment.
            The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
        with any special conditions imposed.
                                           STANDARD CONDITIONS OF SUPERVISION
     I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)     the defendant shall support his or her dependents and meet other family responsibilities;
     5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
            reasons;
        6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
        7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
            any paraphernalia related to any controlled substances, except as prescribed by a physician;
        8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
        9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
            unless granted permission to do so by the probation officer;
        10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
            observed in plain view of the probation officer;
        II) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
        12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
            the court; and
        \3) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
            personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
            with such notification requirement.



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                               SPECIAL CONDITIONS OF SUPERVISION

   1. Submit your person, property, house, residence, vehicle, papers, computer, electronic communications
      or data storage devices or media, and effects to search at any time, with or without a warrant, by any law
      enforcement or probation officer with reasonable suspicion concerning a violation of a condition of
      probation/supervised release or unlawful conduct, and otherwise in the lawful discharge of the officer's
      duties. 18 U.S.C. §§ 3563 (b)(23); 3583 (d)(3).


   2. Not associate with, or have any contact with any sex offenders or prostitutes unless in an approved
      treatment andlor counseling setting.

   3. Not have any contact, direct or indirect, either telephonically, visually, verbally or through written
      material, or through any third-party communication, with the victim or victim's family, without prior
      approval of the probation officer.


   4. Complete a sex offender evaluation, which may include periodic psychological, physiological testing,
      and completion of the ABEL assessment, at the direction of the court or probation officer; and that the
      offender participate and successfully complete an approved state-certified sex offender treatment
      program, including compliance with treatment requirements of the program. The offender will allow
      reciprocal release of information between the probation officer and the treatment provider. The offender
      may also be required to contribute to the costs of services rendered in an amount to be determined by the
      probation officer, based on ability to pay.

    5. Reside in a residence approved in advance by the probation officer, and any changes in residence shall
       be pre-approved by the probation officer.

    6. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
       and counseling, as directed by the probation officer. Allow for reciprocal release of information between
       the probation officer and the treatment provider. May be required to contribute to the costs of services
       rendered in an amount to be determined by the probation officer, based on ability to pay.

    7. Participate in a program of mental health treatment as directed by the probation officer, take all
       medications as prescribed by a psychiatrist/physician, and not discontinue any medication without
       permission. The court authorizes the release of the presentence report and available psychological
       evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal
       release of information between the probation officer and the treatment provider. May be required to
       contribute to the costs of services rendered in an amount to be determined by the probation officer.
       based on ability to pay.



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                        SPECIAL CONDITIONS OF SUPERVISION


   8. Resolve all outstanding warrants within 60 days.

   9. Defendant is to provide all passwords for any encryption on any computer device used by defendant and
      to provide all passwords to any social media accounts or email accounts to her probation officer.

   10. Not associate with known prostitutes or pimps and/or loiter in areas known to be frequented by those
       engaged in prostitution.




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